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            tlje         States? liisitrict Court
        for tfje ^outfjern Bisstrict of <§eorsia
                  prunsitoicfe ©itisiion
UNITED STATES OF AMERICA,        )
                                 )
V.                               )           CR218-47
                                 )
DONALD ADAMS,               )
                                 )
     Defendant.                  )

                                 ORDER


     After a careful, de novo review of the file, the Court concurs

with the Magistrate Judge's Report and Recommendation, dkt. no.

81, to which no objections have been filed.             Accordingly, the

Report and Recommendation of the Magistrate Judge is ADOPTED as

the opinion of the Court.


     SO ORDERED this \ ^ day of April, 2019.



                                     N. LISyCODBEY WOOD, JUD(:jk!
                                     ITED OTATES DISTRICT COURT
                                     fTHEm DISTRICT OF GEORGIA
